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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
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 11    J.O.,                                         Case No. 8:23-cv-00125-SB-SHK
 12                                    Plaintiff,
 13                          v.                      JUDGMENT
 14    MARTIN J. O’MALLEY,
 15    Commissioner of Social Security,
 16                                    Defendant.
 17
 18
 19            It is the judgment of this Court that the Social Security Commissioner’s
 20   decision is REVERSED and this case is REMANDED to the Social Security
 21   Administration for further proceedings consistent with this Court’s Order.
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 23
 24
      DATED: April 29, 2024             ________________________________
 25                                     HON. STANLEY BLUMENFELD, JR.
 26                                     United States District Judge

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